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U.S. DISTRICT COURTE DNLY

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INFORMATION SHEET

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

1. Title of Case: United States v. Jonathan Bf 1 0 - 4 3 3
2. Related Magistrate Docket Number(s): T OW Nj E S J
,v.

None (X)
3. Arrest Date:

4, Nature of offense(s): © Felony
LC] Misdemeanor

5. Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3 of the
Local E.D.N.Y. Division of Business Rules):

U.S. v. Randolf Square et al.. 08 CR 916 (SLT)

6. Projected Length of Trial: Lessthan6éweeks Q
More than 6 weeks (X)

7. County in which crime was allegedly committed:__Staten Island
(Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

8. Has this indictment/information been ordered sealed? () Yes (X) No

9, Have arrest warrants been ordered? ( ) Yes (X)No

LORETTA E. LYNCH
UNITED STATES ATTORNEY

Steven Tiscione
Assistant U.S. Attorney
718-254-6317

Rev. 3/22/01
